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                       ORAL ARGUMENT RESPONSE FORM
 The Clerk's Office has sent you the calendar for an upcoming court session. Counsel who present oral
argument to the Court must acknowledge receipt of the calendar by completing this form and electronically
filing it in the appropriate case or cases. Please file this form immediately by following these steps:
 1) Complete Form On-Line
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 If you have questions or need assistance, please call the Calendar Unit at 314-244-2400.

 Counsel should report no later than 30 minutes before court convenes for check-in and final instructions.

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 January                           U.S. Courthouse                           Missouri, St. Louis


CASE NUMBER(S)        21-1207


CASE TITLE            Eric Poemoceah v. Morton County, et al.


ATTORNEY
PRESENTING            Jane G. Sportiello
ARGUMENT


On behalf of          Appellee                       Party Name Thomas Iverson



ARGUING ATTORNEY ADDRESS

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